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             IN THE UNITED STATES COURT OF INTERNATIONAL TRADE

BEFORE: THE HONORABLE GARY S. KATZMANN, JUDGE
____________________________________
                                     )
SEA SHEPHERD NEW ZEALAND and         )
SEA SHEPHERD CONSERVATION            )
SOCIETY,                            )
      Plaintiffs,                    )
                                     )
      v.                             ) Ct. No. 20-00112
                                     )
UNITED STATES, et al.,               )
      Defendants.                   )
____________________________________)

   DEFENDANTS’ REPLY IN SUPPORT OF ITS PARTIAL MOTION TO DISMISS

       In our partial motion to dismiss, ECF No. 132, we demonstrated that count III of the

supplemental amended complaint, ECF No. 46, is moot because the contested 2020

Comparability Findings have expired by their own terms. Implementation of Fish and Fish

Product Import Provisions of the Marine Mammal Protection Act-Notification of Rejection of

Petition and Issuance of Comparability Findings, 85 Fed. Reg. 71,297 (Dep’t of Commerce Nov.

9, 2020), P.R. 1. Sea Shepherd opposes, ECF No. 134 (Resp.), contending that the 2020

Comparability Findings are capable of repetition but evading review. This is wrong because no

fish or fish product can ever enter the United States based on the now expired 2020

Comparability Findings. Should National Oceanic and Atmospheric Administration (NOAA)

ever grant comparability findings for the subject commercial fisheries, such action will stem

from a de novo proceeding based entirely on a different and revised application, facts, and

administrative record. Under Sea Shepherd’s reasoning, any agency action that possesses a finite

duration would remain justiciable long after expiration – making advisory opinions the norm as

opposed to the very rare exception.
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                                            ARGUMENT

I.      The 2020 Comparability Findings Are Not Capable Of Repetition Yet Evading
        Review

        The 2020 Comparability Findings are not capable of repetition but evading review

because there is no reasonable expectation that any party will be subjected to the same action. By

regulation, NOAA assesses whether to grant comparability findings every four years based on

the content of applications submitted no later than 13 months before the beginning of each

comparability period. Each successive application would necessarily be based on different facts

than the preceding applications, reflecting changes to marine mammal populations, commercial

fishing technology, regulations of the United States, and the exporting country’s regulations.

        The capable of repetition yet evading review “exception applies ‘only in exceptional

situations,’ where (1) ‘the challenged action is in its duration too short to be fully litigated prior

to cessation or expiration,’ and (2) ‘there is a reasonable expectation that the same complaining

party [will] be subject to the same action again.’” NIKA Techs., Inc. v. United States, 987 F.3d

1025, 1027 (Fed. Cir. 2021) (quoting Kingdomware Techs., Inc. v. United States, 579 U.S. 162,

170 (2016)) (cleaned up). Neither element is present here.

        A.      The Four-Year Regulatory Duration Is Sufficient For Litigation

        Comparability findings are to “remain valid for 4 years from publication or for such other

period as the Assistant Administrator may specify.” 50 C.F.R. § 216.24(h)(8)(iv). Sea Shepherd

nevertheless contends that four years is an insufficient amount of time to litigate a case. Yet, it

identifies no cases in which a court has concluded that four years was an insufficient amount of

time to fully litigate a case. To be sure, Kingdomware held on its facts that two years was

insufficient in the context of protests of procurements at the Court of Federal Claims where

performance of a Government contract would be completed during litigation and the


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disappointed bidder would be unable to perform even if it were to prevail. 579 U.S. at 170. Sea

Shepherd also cites some cases from the Court of Appeals for the Ninth Circuit concluding that

three years was insufficient to complete litigation. Resp. at 8-9. In contrast, four years is more

than sufficient to litigate a case in the Court of International Trade involving imports, especially

where a moving party might obtain a preliminary injunction as in this case.

       B.      Sea Shepherd’s Assumptions And Contingencies Fail To Establish That This
               Matter Is Capable Of Repetition

       Sea Shepherd speculates that, because the Court preliminarily concluded that Sea

Shepherd had possessed a likelihood of success in its challenge to the 2020 Comparability

Findings, it is likely to be subject to the “same action” in the future because NOAA is likely to

make the same alleged errors based on the same underlying facts in future proceedings. Resp. at

3. But it identifies no underlying agency policies, regulations, guidelines, or recurrent identical

agency action that is allegedly unlawful or erroneous along with a basis to believe that NOAA

will repeat any error in future proceedings. As Sea Shepherd contends “[t]he same action

generally refers to particular agency policies, regulations, guidelines, or recurrent identical

agency actions.” Id. (quoting Ralls Corp. v. Comm. on Foreign Invasion in U.S., 758 F.3d 296,

324 (D.C. Cir. 2014)). There must be more than a bare allegation that an agency got it wrong

once so it will make the same mistake again, but that is Sea Shepherd’s argument.

       Given Sea Shepherd’s failure to identify anything objectionable that would carry through

to future proceedings, this case differs significantly from Greenpeace Action v. Franklin, 14 F.3d

1324 (9th Cir. 1992), on which Sea Shepherd heavily relies. Greenpeace involved an allegation

that the biological opinion underlying a final agency action was inadequate. Id. at 1329. Even

after the final agency action had expired, the agency continued to use the allegedly flawed

biological opinion in other determinations. Id. at 1330. That is not the case here. Similarly, Sea


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Shepherd’s other cases at pages six and seven of its response involve similar underlying policies

that continued in other proceedings. See Kentucky Riverkeeper, Inc. v. Rowlette, 714 F.3d 402,

406 (6th Cir. 2013) (although challenged permit expired, agency had granted “reauthorizations”

that “allow[ed] projects authorized in reliance on permit 21’s challenged cumulative-impacts

analysis”); Alaska Ctr. For Env't v. U.S. Forest Serv., 189 F.3d 851, 857 (9th Cir. 1999)

(evidence of subsequent issuance of similar permits); Gaule v. Meade, 402 F. Supp. 2d 1078,

1083 (D. Alaska 2005) (Forest Service considered challenged Environmental Impact Statement

sufficient for future permitting).

       Without anything concrete like the biological opinion in Greenpeace, Sea Shepherd

appears to accuse NOAA of being a rubber stamp for whatever New Zealand submits to the

agency. Resp. at 4. Of course, Government employees are presumed to act in good faith. Galen

Med. Assocs., Inc. v. United States, 369 F.3d 1324, 1330 (Fed. Cir. 2004); see also, Torncello v.

United States, 681 F.2d 756, 770 (Ct. Cl. 1982) (equating proof of bad faith “with evidence of

some specific intent to injure the plaintiff.”). The imports regulation requires applications to

include “documentary evidence demonstrating that the harvesting nation has met the [necessary]

conditions . . . for each of such fisheries, including reasonable proof as to the effects on marine

mammals of the commercial fishing technology in use in the fishery for fish or fish products

exported from such nation to the United States.” 50 C.F.R. § 216.24(h)(6)(i). NOAA also “may

require the submission of additional supporting documentation or other verification of statements

made in an application for a comparability finding.” Id. NOAA then issues its determinations

based on the application, supporting materials, and any other evidence that it believes to be

necessary. 50 C.F.R. § 216.24(h)(6)(ii). Sea Shepherd lacks any basis to contest the fact that

NOAA will perform this de novo analysis in good faith based on its expertise.



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       Unable to identify any challenged part of the 2020 Comparability Findings that will carry

forward to future proceedings, Sea Shepherd instead speculates about the outcome of those

future matters. The appellate court has roundly rejected such an expansive view of a matter

being capable of repetition. Ebanks v. Shulkin, 877 F.3d 1037, 1039 (Fed. Cir. 2017). In

Ebanks, a veteran, had sought administrative review before a board of a Department of Veterans

Affairs (VA) decision denying him an increased disability rating. After two years had passed

without the board scheduling a hearing, the veteran sought a writ of mandamus to compel a

hearing. While the mandamus case was pending, the board scheduled a hearing. The Federal

Circuit concluded that the matter was not capable of repetition because there were too many

contingencies before the board might delay additional hearings. Specifically, the board would

have to remand the matter to the original adjudicator and, if dissatisfied, the veteran would need

to seek board review a second time. The court explained: “Given these many contingencies, Mr.

Ebanks has not shown a sufficiently reasonable expectation that he will again be subjected to the

same action.” Id. at 1039. Here, NOAA would also need to make the same errors alleged in this

case to grant comparability findings in a de novo proceeding involving an entirely new factual

record. All of these contingencies render count III incapable of repetition.

III.   This Imports Case Is Moot

       At bottom, this case involves whether certain merchandise may enter the commerce of

the United States during a discrete time span that has now passed. Sea Shepherd’s attempts to

distinguish Ex parte McCardle, 74 U.S. 506 (1868) are unavailing because, just as the underlying

statute had expired in that case, the underlying determination governing imports of specified

merchandise expired by its own terms.




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       This is an international trade case involving imports of merchandise during a discrete

period. It cannot result in a ruling governing the commercial fishing technologies in the Māui

dolphin’s range. Before it became moot, the challenge to the 2020 Comparability Findings only

could have resulted in a ruling barring or allowing the entry of merchandise until December 31,

2022. “A case will be dismissed as moot when the challenge presented to the Court cannot result

in a meaningful remedy.” Verson, a Div. of Allied Prod. Corp. v. United States, 5 F. Supp. 2d

963, 966 (Ct. Int’l Trade 1998).

       Instead, given the cyclical nature of comparability findings, this case is more akin to

antidumping or countervailing duty cases that become moot once all entries subject to the case

have liquidated. SKF USA, Inc. v. United States, 512 F.3d 1326, 1329 (Fed. Cir. 2008) (citing

Zenith Radio Corp. v. United States, 710 F.2d 806 (Fed. Cir. 1983)). “The Supreme Court has

explained that a case becomes moot when it has ‘lost its character as a present, live controversy

of the kind that must exist if we are to avoid [advisory] opinions on abstract propositions of

law.’” Shandong Huarong Mach. Co. v. United States, 32 C.I.T. 1316, 1321 (2008) (quoting

Hall v. Beals, 396 U.S. 45, 48 (1969)) (bracketing by Court). Here, the abstract proposition that

the Court would be addressing in Sea Shepherd’s challenge to the 2020 Comparability Findings

is whether the United States should have either barred or allowed entry of certain merchandise

before January 1, 2023, where the stale underlying record of the 2020 Comparability Findings is

insufficient to support a new determination. Such a weak thread cannot revive a case or

controversy.




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                                        CONCLUSION

       For these reasons as well as those in our motion to dismiss, we respectfully request that

the Court dismiss count III of the supplemental amended complaint.

                                             Respectfully submitted,

                                             BRIAN M. BOYNTON
                                             Principal Deputy Assistant Attorney General

                                             /s/ PATRICIA M. McCARTHY
                                             Director

OF COUNSEL:                                  /s/ STEPHEN C. TOSINI
JASON S. FORMAN                              Senior Trial Counsel
Office of General Counsel                    Department of Justice
National Oceanic & Atmospheric               Civil Division
 Admin.                                      Commercial Litigation Branch
Silver Spring, MD                            P.O. Box 480, Ben Franklin Station
                                             Washington, DC 20044
                                             Tel.: (202) 616-5196

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